                                                                                        Page 1 of 1


UNITED STATES BANKRUPTCY COURT
DISTRICT OF MONTANA
PDF FILE WITH AUDIO FILE ATTACHMENT

      2022-20132
      MONTANA TUNNELS MINING, INC.



      Case Type :                    bk
      Case Number :                  2022-20132
      Case Title :                   MONTANA TUNNELS MINING, INC.

      Audio Date\Time:               9/26/2023 9:04:52 AM
      Audio File Name :              2bk2022-20132_20230926-090452.mp3
      Audio File Size :              5088 KB
      Audio Run Time :               [00:10:36] (hh:mm:ss)




Help using this file:

         An audio file is embedded as an attachment in this PDF document. To listen to the file,
         click the Attachments tab or the Paper Clip icon. Select the Audio File and click Open.

MPEG Layer-3 audio coding technology from Fraunhofer IIS and Thomson.


         This digital recording is a copy of a court proceeding and is provided as
         a convenience to the public. In accordance with 28 U.S.C. § 753 (b)
         "[n]o transcripts of the proceedings of the court shall be considered as
         official except those made from the records certified by the reporter or
         other individual designated to produce the record."




               2:22-bk-20132-BPH Doc#: 88 Filed: 09/26/23 Page 1 of 1
